Case 5:16-cv-GPeh fbi) OLWAHGS ‘CRY: SHOBZESIN s GIOXQsMG-UAS; BULL NBME dudes ha G0 CPF Urouitis ty anDY 2 B0¥e

CASE 16-C-198 rrr) Peon YUU

DIANA MEY VS. MARC SPORN

LINE DATE ACTION

06/36/16 COMPLAINT AND DEMAND FOR JURY TRIAL;MEMO; SUMMONS ITD;RECEIPT
07/20/16 SOS ACCEPTED SERVICE FOR MEDI BIOTECH ON 7/7/16

07/20/16 SOS ACCEPTED SERVICE FOR AMERCO GROUP ON 7/7/16

07/20/16 SOS ACCEPTED SERVICE FOR GENTECH GROUP ON 7/7/16

o7/20/16 R/S CMe ID TO DYLAN SPORN NO SIGNATURE NO DATE

08/04/16 CM RETURNED ID TO MARC SPORN RETURNED UNCLAIMED

mu Ww tke

( ‘d £090 ON WeE7?] 9100 CLL ANY
Case 5:16-cv-00131-FPS Document 1-2 Filed ¢

Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.
Charleston, WV 25305

 

USPS CERTIFIED MAIL™

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MEDI BIOTECH LLC

701 PARK OF COMMERCE BLVD
SUITE 301

BOCA RATON, FL 33487

Control Number: 107553

Defendant: MEDI BIOTECH LLC
701 PARK OF COMMERCE BLVD
SUITE 301
BOCA RATON, FL 33487 US

lam enclosing:
1 summons and complaint

which was served on the Secretary at the State Capitol as your stati
service of process in your name and on your behalf.

Please note that this office has no connection whatsoever with the é
process in your name and on your behalf as your attorney-in-fact. |
directly to the court or the plaintiff's attorney, shown in the enclosed

Sincerely,

Wall EYprttcte

Natalie E. Tennant
Secretary of State

)8/17/16 Page 2 of 18 PagelD #: 9

 

Natalie E. Tennant
Secretary Of State
State Of West Virginia
Phone: 304-558-6000

866-767-8683
Visit us online:
WWW.wvVsos.com

County: Ohio
Civil Action: 16-C-198

Certified Number: 92148901125134100001121851

Service Date: 7/7/2016

utory attorney-in-fact. According to law, | have accepted

nclosed documents other than to accept service of
Please address any questions about this document
paper, not to the Secretary of State's office.

 

 
Case 5:16-cv-00131-FPS Document 1-2 Filed 08/17/16 Page 3 of 18 PagelD #: 10

IN THE CIRCUIT COURT OF OHIO CO
DIANA MEY
Plaintiff,
v.

MARC SPORN, INDIVIDUALLY;

DYLAN SPORN, INDIVIDUALLY;

AMERCO GROUP, INC.; GENTECH, LLC; and
MEDI BIOTECH LLC,

Defendants.

To the above-named Defendant Medi Biotech, LLC:
Medi Biotech, LLC

701 Park Of Commerce Blvd, Suite 301

Boca Raton, FL 33487

UNTY, WEST VIRGINIA

Civil Act ion No.: \lo He VG

oo

IN THE NAME OF THE STATE OF WEST VIRGINIA, you are hereby summoned and
required to serve upon Charles R. Pinkerton, Attorney. -at-Law, plaintiff's attorney, whose
address is 235 High Street, Suite 817, Morgantown, WV 26505, an answer, including any

related counterclaim you may have, to file the complaint
civil action, a true copy of which is herewith delivered to
answer within 20 days after service of this Summons upd

if filed against you in the above styled
you. You are required to serve your
n you, exclusive of the day of service.

If you fail to do so, judgment by default will be taken against you for the relief demanded in the

complaint and you will be thereafter barred from assertin
have which must be asserted by counterclaim in the abov

Dated: (p- 30-1

g in another action any claim you may
e-styled civil action.

‘Qrnila Pils

 

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Case 5:16-cv-00131-FPS Document 1-2 Filed 0

8/17/16 Page 4 of 18 PagelD #: 11

CIVIL CASE INFORMATION STATEMENT

CIVIL CASE

In the Circuit Court of Ohio County, West Virginia

 

I. Case Style :
Plaintiff

Diana Mey

VS.

Defendants

Marc Sporn
655 SE |st Street,
Delray Beach, Florida, 33483

Dylan Sporn
1092 Jeffrey Street
Boca Raton, Florida 33487

Amerco Group, Inc.
4730 Boca Raton Blvd 2nd Floor
Boca Raton, FL 33431

Gentech, LLC
1106 Second St.
Encinitas Ca 92024

Medi Biotech, LLC
701 Park Of Commerce Blvd, Suite 301
Boca Raton, FL 33487

Case No: | L-C~ IG8.

Judge Uwe

Type of Service

Certified/Restricted
Certified/Restricted
Secretary of State
Secretary of State

Secretary of State

Original and 6 copies of complaint furnished herewith.

 

 

 
Case 5:16-cv-00131-FPS Document 1-2 Filed 0

PLAINTIFF: DIANA MEY

DEFENDANTS:

MARC SPORN, INDIVIDUALLY;

DYLAN SPORN, INDIVIDUALLY:

AMERCO GROUP, INC., GENTECH, LLC: and
MEDI BIOTECH LLC.

II. Type of Case:
civil
UI. Jury Demand:

Yes

Case will be ready for trial by 7/2016.

8/17/16 Page 5 of 18 PagelD #: 12

CASE NUMBER:

 

IV. Do you or any of your clients or witnesses in this

accommodations due to a disability or age? No.

case require special

 

 

Attorney Name: Charles R. Pinkerton

Firm: Pinkerton Law Practice, PLLC

Address: 235 High Street, Suite 817
Morgantown, WV, 26505

Telephone: 304.933.2113

Representing:
Plaintiff

 

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iL

Signature

 

 

 

 
Case 5:16-cv-00131-FPS Document 1-2 Filed 08/17/16 Page 6 of 18 PagelD #: 13

IN THE CIRCUIT COURT OF OHIO COUNTY, WEST VIRGINIA

DIANA MEY

Plaintiff, Civil Action No.:
v.

MARC SPORN, INDIVIDUALLY;

DYLAN SPORN, INDIVIDUALLY;
AMERCO GROUP, INC.; GENTECH, LLC; and
MEDI BIOTECH LLC,

Defendants,

COMPLAINT AND DEMAND FOR JURY TRIAL

 

Plaintiff, brings this action against Defendant, on the grounds and the amounts set
forth herein.
I. PRELIMINARY STATEMENT

In 1991, Congress enacted the Telephone |Consumer Protection Act of 1991,
(hereinafter “TCPA”), to regulate telemarketing. Among other things, the TCPA prohibits
telemarketers from calling cellular phones and residential numbers registered with on the
National Do Not Call List, using an autodialer and/or leaving re-recorded messages,
without prior express consent.

Per the TCPA, businesses that place calls/to prohibited numbers, as well as
businesses on whose behalf the calls are made, are liable for violating the Act.

This action arises out of the facts and circumstances surrounding telemarketing
calls made to the Plaintiffs’ cellular phones. Hete, Defendants’ colluded to initiate
telemarketing campaigns to Plaintiff that she neither|wanted nor needed, and placed calls
to Plaintiffs wireless number, using an autodialer, and without express consent.

Defendants Mare Sporn and Dylan Sporn can be|held liable under the law because

 

 

 

 
Case 5:16-cv-00131-FPS Document 1-2 Filed 08/17/16 Page 7 of 18 PagelD #: 14

individuals acting on behalf of a corporation may be held personally liable for violations
of 47 U.S.C. 227(d) if they “had direct, personal participation in or personally authorized
the conduct found to have violated the statute.” jand, as a matter of public record,
Defendants Marc Sporn and Dylan Sporn have been personally subject to Court orders and
directives in similar matters.
Plaintiff institutes this action individually |for statutory damages against the
Defendants and the costs of this action against Defendants for violations of the Telephone
Consumer Protection Act 47 U.S.C. 227 et seq, and the West Virginia Credit and Consumer

Protection Act (hereinafter “WVCCPA”) §46A-1-10] et seq.

Il. STATUTORY STRUCTURE TCPA
1. The Telephone Consumer Protection Act, 47 U.S.C. 227 (“TCPA”) amended the
Federal Communications Act 47 U.S.C. 151,\et seq. (“FCA”) to address the uses
of automatic telephone dialing systems, artificial or prerecorded voice messages,
SMS text messages reviewed by cell phones,|and the use of fax machines to send
unsolicited advertisements.
2. Under the TCPA “automatic telephone dialing system” (hereinafter “ATDS”)
means equipment which has the capacity-
(A) to store or produce telephone numbers to be called, using a random or
sequential number generator; and
(B) to dial such numbers. See, 47 U.S\C. |227 (a)(1).

3. Under the TCPA, it is unlawful to make any call (other than a call made for
emergency purposes or made with the prior |express consent of the called party)

using any automatic telephone dialing system or an artificial or prerecorded voice

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Case 5:16-cv-00131-FPS Document 1-2 Filed 0

message to any telephone number registere
assigned to the a paging service, cellular telep
service, or other radio common carrier servic
party is charged for the call.
. Under the TCPA, a person or entity may, if o
rules of the court of a State, bring in an appra

(A)an action based on a y
regulations prescribed un
violation,

(B)an action to recover for
violation, or to receive $50
whichever is greater, or

(C) both such actions.

If the court finds that the defendant willfully ¢
or the regulations prescribed under this subse
increase the amount of the award to an amou
amount available under subparagraph (B) of t

Ii]. STATUTORY STRUCTU
The West Virginia Consumer and Credit Pro
the Uniform Consumer Credit Code, the Nati
Virginia statutes. Cadillac v. Tuscarora Land
The WVCCPA addresses telemarketing so

issues.

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n the National Do Not Call List,
e service, specialized mobile radio

r any service for which the called

therwise permitted by the laws of the

ate court of that State:
ition of this subsection or the

this subsection to enjoin such

actual monetary loss from such a

(0 in

or kj
ctio
nt e
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tect

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lici

damages for each such violation,

nowingly violated this subsection
n, the court may, in its discretion,
qual to not more than 3 times the
paragraph. 47 U.S.C. 227 (b)(3).

tL WVCCPA

ion Act incorporates elements of
1 Consumer Act, and other West
412 S.E. 792, 794 (W. Va 1991).

tations, among other consumer

 

7/16 Page 8o0f 18 PagelD #: 15

 

 
Case 5:16-cv-00131-FPS Document 1-2 Filed 0

7. Under the WVCCPA, it is unlawful for a
telephone call to a person when that person hé
not wish to receive an outbound telephone ca

telemarketer whose goods or services are being

6F-601(3).

8. Under the WVCCPA, a person or entity may br

court of that State:

a. an action based on a violation of
prescribed under this subsection to enj
b. an action to recover actual monetary lo
addition, a right to recover from the v
less than $300 and not more than $3,000.

c. in any action brought under this artic

tele

8/17/16 Page 9 of 18 PagelD #: 16

marketer to initiate an outbound

is previously stated that he or she does

ll made by or on behalf of the

offered. See, W. Va. Code §46A-

ng in an action in an appropriate

this subsection or the regulations

oin such violation,

ss from such a violation, and in

olator a penalty in the amount of not

W. Va. Code §46A-6F-701(a),

le where damages are awarded to a

consumer, the court may adjust the damages to account for inflation from

the first day of July, 1998. To the time
amount determined by the applicatio

index. Consumer price index means the

of the award of damages, in an

in of data from the consumer price

last consumer price index for all

consumers published by the United States department of labor, W. Va. Code

§46A-6EF-701(e),

d. all such actions.

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Case 5:16-cv-00131-FPS Document 1-2 Filed 0§

Plaintiff sues Defendant and further alleges as fol

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. Defendant Marc Sporn is an officer for Amer¢

B/ 17

7/16 Page 10 of 18 PagelD #: 17

IV. PARTIES, JURISDICTION, AND VENUE

Plaintiff Diana Mey is a resident of Ohio County

therein.
Defendant Marc Sporn is a resident of 655 SE
33483.
Defendant Dylan Sporn is a resident of 1092 J

33487.

Defendant Dylan Sporn is the President of Amerc

Medibiotech.

Amerco Group, Inc. is foreign for-profit comp

business at 4730 Boca Raton Blvd 2nd Floor Boc

business in Ohio County, WV. Material events o

Virginia with respect to the Plaintiff,

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lows:

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West Virginia and domiciled

Street, Delray Beach, Florida,

rey Street, Boca Raton, Florida

o Group, Inc.

sroup, Inc and owner of

any with a principal place of

a Raton, FL 33431, and doing

ccurred in Ohio County, West

AdvocateAssistance.com (a product of Amerco Group, Inc.) is a forei gn for-profit

website, doing business in Ohio County, WV.
County, West Virginia with respect to the Plai

Medi Biotech, LLC is a foreign for-profit com

M

ntiff.

aterial events occurred in Ohio

pany with a principal place of

business at 701 Park Of Commerce Blvd, Suite 301, Boca Raton, FL 33487, and

doing business in Ohio County, WV. Material events occurred in Ohio County,

West Virginia with respect to the Plaintiff.

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Case 5:16-cv-00131-FPS Document 1-2 Filed 08/17/16 Page 11 of 18 PagelD #: 18

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Dh

Gentech, LLC is a foreign for-profit company with a principal place of business at
1106 Second St., Encinitas Ca 92024, and doing business in Ohio County, WV.
Material events occurred in Ohio County, West Virginia with respect to the
Plaintiff.
Jurisdiction is conferred on this Court by 28 U.S.C. 1331,
Venue is this Court is proper in that the Defendant transacts business here and the
conduct underlying the complaint occurred in Ohio County, West Virginia.

V. ALLEGATIONS
Plaintiff was assigned cellular number ending in 1943 and 7346 by her cell phone
provider.
Plaintiff's cellular phones has been continuously registered on the National Do
Not Call Registry.
Plaintiff has no prior business relationship with Defendants.
Plaintiff did not sign up for an account with or for Defendants, or though
Defendants’ agents or affiliates.
Plaintiff never gave Defendants, Defendant’s\agent or affiliates, express or other
consent to be called with an ATDS.
Defendants called Plaintiff repeatedly with an ATDS to the Plaintiff's cell phone
even when that phone number has been continuously listed on the Do Not Call
Registry.
Defendant used a computer system and ATD$ machine to place calls messages on
Plaintiff's cellular phone.

Plaintiff is a consumer.

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Case 5:16-cv-00131-FPS Document 1-2 Filed 0§

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tod
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33.

On 8/7/13 at 7:49 PM, Mrs. Mey received ac
from 615-667-5029 to 1943. Representative
Charleston, WV, but that the corporate office
they used an autodialer.

On 8/8/13 at 11:05 AM, Mrs. Mey received a
from 800-517-4926 to 1943. This call was fr
prior day, but ended the call upon reaching M
On 8/8/13 at 12:44 PM, Mrs. Mey received a
AdvocatesAssistance.com from 800-517-492
prematurely.

On 8/8/13 at 1:13 PM, Mrs. Mey calls Denise
Mey the following website: advocateassistan
On 6/5/14 at 3:31 PM, Mrs. Mey received ac

4285.

. On 8/13/14 at 7:55 PM, Mrs. Mey received a

203-5653. Medibiotech employs and IVR, “1

message.

. On 3/31/15 at 10:19 AM, Mrs. Mey received

which employs and IVR, “Kathy Parker,” to |
“Kathy Parker” transfers my client to Gentecl
On 4/3/15 at 11:11 AM, Mrs. Mey received a

“Mike” of Gentech RX Pharmacy.

wa

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rs.

at

ami

orx.

 

3/17/16 Page 12 0f 18 PagelD #: 19

from AdvocatesAssistance.com

“Denise” stated she was calling from

s in Boca Raton, FL. Rep stated

1 from AdvocatesAssociates.com
the same Representative as the

Mey’s answering service.

call from Denise of

6 to 1943. Denise ends the call

800-736-156. Denise give Mrs.

ce.com.

all from Medibiotech from 404-666-

call from Medibiotech from 607-

ly,” to leave a prerecorded

a call from from 951-379-5056,

eave a prerecorded message.

call from from 855-649-4650 from

 

 

 
Case 5:16-cv-00131-FPS Document 1-2 Filed 0§

36.

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. Defendant made telephone solicitations to

On 4/28/15 at 1:06 PM, Mrs. Mey received a
“Matthew James” who states he works for M

transfers Mrs. Mey to “Jeff” an eligibility spe

occasions by initiating calls to Plaintiff wit
consumer services. W. Va. Code §46A-6F-1]
Defendants are telemarketers. W. Va. Code §

Defendants are not “telemarketers in good s

8/17/16 Page 13 of 18 PagelD #: 20

call from from 304-228-1306 from
ediBiotech. “Matthew James”
cialist of Gentech RX Pharmacy.

P

—

aintiff on at least nine separate
h the intent and purpose of selling
2.

46A-6F-113.

 

§46A-6F-114, and in the last two years has v
telemarketing laws.

By calling a number registered with the Natio

anding” as defined by W. Va. Code

olated consumer protection laws and

nal Do Not Call Registry, Defendant

caused a telephone to ring repeatedly and continuously, with intent to annoy,

abuse, oppress or threaten Plaintiff.
VI. COUNT ON
(Violations of the West Virginia Consumer
The Plaintiff incorporates the preceding parag
The Defendants have engaged in repeated vi

but not limited to:

a. Engaging Plaintiff repeatedly or cont
person would deem to be annoying, ab
Va. Code §46A-6F-601(2);

b. Initiating an outbound telephone c

E
Credit and Protection Act)
sraphs as if set forth fully herein.

olations of the WVCCPA, including

inuously with behavior a reasonable

usive, or harassing in violation of W.

all to Plaintiff when Plaintiff had

previously stated that she did not wish to receive outbound telephone calls

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Case 5:16-cv-00131-FPS Document 1-2 Filed 08/17/16 Page 14 of 18 PagelD #: 21

made by or on behalf of the telemarketer whose goods or services were
being offered in violation of W. Va. Code §46A-6F-601(3);

c. Engage in any other unfair or deceptive conduct which will create a
likelihood of confusion or misunderstanding to any reasonable consumer in
violation of W. Va. Code §46A-6F-50I1:

d. Using a computer, with the intent to|harass or abuse the Plaintiff, and to
make contact with the Plaintiff after being requested by the Plaintiff to

desist in violation of W. Va. Code §61

3C-14(a).
VII. COUNT TWO
(Violations of the Telephone Consumer Protection Act)

43. Plaintiff repeats, re-allege, and incorporates by reference the fore going paragraphs.
The Defendants’ violations of the TCPA include, but are not limited to, the
following:

e. The actions of the Defendants individually and collectively violated the

TCPA by placing calls to the Plaintiff on Plaintiff's cellular telephone using

an ATDS or artificial or prerecorded yoice without the express permission

of the Plaintiff.

f. Alternatively, Defendants has violated the TCPA by placing calls to the

|

Plaintiff on Plaintiff's cellular telephone using an ATDS or artificial or

prerecorded voice after the Plaintiff

ben 3

evoked any permission of the
Defendants to place such calls.
g. The foregoing violations of the TCPA were committed willfully or

knowingly by the Defendant or its agents.

 

17

 

 

 
Case 5:16-cv-00131-FPS Document 1-2 Filed 08/17/16 Page 15 of 18 PagelD #: 22

h. Plaintiffs privacy was invaded by Defendants;
i. Plaintiff was harassed and abused by Defendants’ telephone calls:

j. Defendants’ calls upset Plaintiff emotionally:

k. Plaintiffs cell phone was unavailable for use while processing the illegal

calls from Defendants;

|, Defendants illegally sized Plaintiff's cellular telephone line while they
made illegal calls to Plaintiff's cellular telephone;

m. Plaintiffs cellular telephone line was occupied by multiple unauthorized

calls from Defendants;

n. Defendants’ seizure of Plaintiff's cellular telephone line was intrusive: and

o. Plaintiff was inconvenienced by, among other things, hearing her cell phone

ring, having to check the calling party and having to delete messages left by

Defendants;

p. As a result of the Defendants' actions, Plaintiff has been annoyed,

inconvenienced, harassed, bothered, upset, angered, harangued and

otherwise was caused indignation and|distress.
VII. COUNT THREE
(Violations of the West Virginia Computer Crime and Abuse Act)

44. The Plaintiff incorporates the preceding paragraphs as if set forth fully herein.

 

45. The Plaintiff is a "person" as defined by W. Va. Code §61-3C-3(n) as Plaintiff is a

"natural person."
46. Each Defendant is a "person" as defined by W, Va, Code §61-3C-3(n), as Defendant

is a natural person, or a "limited partnership, trust association or corporation."

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Case 5:16-cv-00131-FPS Document 1-2 Filed 0§

47,

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49,

at,

. The Plaintiff, as a result of this contact by

B/17/16 Page 16 of 18 PagelD #: 23

Defendants, with the intent to harass, used an "electronic communication device"

as defined by W. Va. Code §61-3C-14(a) to

nake contact with the Plaintiff after

 

being requested by the Plaintiff to desist fron

of W. Va. Code §61-3C-14a(a)(2).

violations of the WVCCAA as set forth abc

court.
Plaintiff seeks compensatory damages for ir

§61-3C-16(a)( 1) and punitive damages pursuc

inconvenienced, harassed, bothered, upset, an
caused indignation and distress.

VII. COUNT FO!

(Common Law Invasion «

Plaintiff repeats, re-allege, and incorporates b
The Defendants’ violations include, but are n|
a. The Plaintiff has an expectation of p
annoying telephone calls. The acts of

calls to Plaintiff s telephone number in

s right of privacy.

b. As a result of the Defendants’ acti

distress.

19

1 contacting the Plaintiff in violation

Defendants, was injured by these

»ve, and is entitled to civil relief in

juries as provided by W. Va. Code

ant to W. Va. Code §61-3C- 16(a)(2).

.As a result of the Defendants’ actions, Plaintiff has been annoyed,

gered, harangued and otherwise was

UR
of Privacy)

y reference the foregoing paragraphs.
ot limited to, the following:

rivacy to be free from harassing and
the Defendants in placing telephone

vaded, damaged and harmed Plaintiff

ns,| the Plaintiff suffered emotional

 

 

 

 
Case 5:16-cv-00131-FPS Document 1-2 Filed 08

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5D.

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a7.

. That Plaintiff be awarded statutory damages a

/17/16 Page 17 of 18 PagelD #: 24

c. As a result of the Defendants’ actions, Plaintiff has been annoyed,

inconvenienced, harassed, bothered

otherwise was caused indignation and

IX. RELIEF SOUGHT

Plaintiff requests the following relief:

» upset, angered, harangued and

distress.

That Defendants be restrained from engaging in future telemarketing and other

violations of the TCPA, WVCCPA, and the WVCCAA.

That Defendants, their agents, and anyone ac

sting on their behalf, be immediately

restrained from altering, deleting, or destroying any documents or records relating

to this matter.

the TCPA, and $1,500 for each knowing violation.

 

f $5 00 for each negligent violation of
|

That Plaintiff be awarded full statutory damages for each violation of the WVCCP

and attorney fees.

Statutory damages in the maximum amount authorized by W. Va. Code §46A-6F-

701 (a), and as adjusted for inflation pursuant
all such violations that occurred up to the

complaint;

The Plaintiff be granted actual, general, comy

Defendants’ conduct.

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to W. Va. Code §46A-6F-701(e) for

date and time of the filing of this

yensatory, and punitive damages for

 

 

 

 
Case 5:16-cv-00131-FPS Document 1-2 Filed 08/17/16 Page 18 of 18 PagelD #: 25

WHEREFORE, Plaintiff seeks judgment against Defendants for actual, general,

compensatory, and punitive damages and statutory d

costs, injunctive relief, and such other and further

proper.

CHARLES

CA,

reli

 

amages, reasonable attorney fees and

ef that the Court deems just and

5 R. PINKERTON
E.

Counsel

/s/Charles Pinkerton

Charles'

R. Pinkerton (WV Bar No. 12249)

Pinkerton Law Practice, PLLC

235 Hig

h Street, Suite 817

Morgantown, WV 26505
P: 304.933.2113
F: 304.933.2108

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